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XHIBIT C

 

 
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Attorneys for Defendant,

Tod Williams Billie Tsien Architects, LLP

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Civil Action No.
Plaintiff, 3:19-cv-21248-BRM-LHG
Vv. TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP’S ANSWER TO

TOD WILLIAMS BILLIE TSIEN COUNTERCLAIM OF ARUP USA,
ARCHITECTS, LLP; JACOBS INC. WITH THIRD-PARTY
ARCHITECTS/ENGINEERS, INC.; COMPLAINT

and JACOBS CONSULTANCY INC.,

Defendants.

 

ARUP USA, INC.,
Counterclaimant,
Vv.

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Counterclaim Defendant.

 

TOD WILLIALMS BILLIE TSIEN
ARCHITECTS, LLP,

Third-Party Plaintiff
On the Counterclaim,

 

 
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Vv.

THE TRUSTEES OF PRINCETON
UNIVERSITY and JACOBS
ARCHITECTS/ENGINEERS, INC.
and JACOBS CONSULTANCY, INC.

Third-Party Defendants
On the Counterclaim.

 

 

Defendant, Tod Williams Billie Tsien Architects, LLP,
(“TWBTA” or “answering defendant”), in reply to the counterclaim
filed against it by Arup USA, Inc., says as follows:

NATURE OF THE ACTION

1. The allegations of this paragraph constitute legal
conclusions to which no response is required. To the extent any
further response is required, denied as to answering defendant.

2. Admitted.

3. Admitted.

RELEVANT FACTS

4. Admitted.

5. Admitted.

6. Admitted.

7. The Arup Agreement is a written document that speaks
for itself and is the best evidence of its own terms. Answering
defendant denies any inconsistent characterization thereof. To
the extent any further response is required, answering defendant

denies the allegations of this paragraph.
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8. Denied.
9. Denied.
10. Denied.

1l. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

12. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

13. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response iss required, answering defendant
denies the allegations of this paragraph.

14. The Arup Agreement is a written document that speaks
for itself and is the best evidence of its own terms. Answering
defendant denies any inconsistent characterization thereof. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

15. Denied.

16. Denied.

17. Answering defendant neither admits nor denies the

allegations in this paragraph and leaves Arup to its proofs. To

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the extent any further response is required, answering defendant
denies the allegations of this paragraph.

18. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs.

19. The Arup Agreement is a written document that speaks
for itself and is the best evidence of its own terms. Answering
defendant denies any inconsistent characterization thereof.

20. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph to the extent the
mediation satisfied the conditions of the Arup Agreement.

21. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph to the extent the
mediation satisfied the conditions of the Arup Agreement.

FIRST COUNT AGAINST TWBTA
(Breach of Contract)

21. Answering defendant repeats its answers to the prior
paragraphs as if set forth at length herein.

22. Admitted. However, the Arup Agreement is a written

document that speaks for itself and is the best evidence of its
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own terms. Answering defendant denies any inconsistent
characterization thereof.

23. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

24. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph and asserts that
plaintiff or others are responsible for any payments claimed
under this paragraph.

25. The Arup Agreement is a written document that speaks
for itself and is the best evidence of its own terms. Answering
defendant denies any inconsistent characterization thereof. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

26. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Arup to its proofs. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph and asserts that
plaintiff or others are responsible for any payments claimed

under this paragraph.
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27. Denied. To the extent any further response is
required, answering defendant asserts that plaintiff or others
are responsible for any payments claimed and owing under this
paragraph.

28. Denied.

WHEREFORE, counterclaim defendant Tod Williams Billie Tsien
Architects, LLP demands dismissal of the counterclaim with
prejudice, together with attorneys’ fees, costs of defense and
other relief the Court deems just and equitable.

SECOND COUNT AGAINST TWBTA
(Account Stated)

29. This paragraph incorporates the preceding paragraphs of
the Counterclaim and contains no averment of facts.

30. The averments in this paragraph consist of ARUP’s
characterization of documents. If a response is deemed required,
the averments are denied and the Court is respectfully referred to
the document cited for a complete statement of its contents.

31. This paragraph contains conclusions of law to which no
response is required. Further, the averments of this paragraph
consist of ARUP’s characterization of documents. If a response is
deemed required, the averments are denied and the Court is
respectfully referred to the document cited for a complete

statement of its contents.
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32. This paragraph contains conclusions of law to
response is required. If a response is deemed required,
33. This paragraph contains conclusions of law to
response is required. If a response is deemed required,
34. This paragraph contains conclusions of law to

response is required. If a response is deemed required,

which no

denied.

which no

denied.

which no

denied.

WHEREFORE, Counterclaim Defendant, Tod Williams Billie

Tsien Architects, LLP, respectfully requests that the

Counterclaim be dismissed with prejudice, together with

attorneys’ fees, costs of defense and other relief the Court

deems just and equitable.

THIRD COUNT AGAINST TWBTA
(Unjust Enrichment)

35. This paragraph incorporates the preceding paragraphs of

the Counterclaim and contains no averment of facts.
36. This paragraph contains conclusions of law to
response is required. If a response is deemed required,
37. This paragraph contains conclusions of law to
response is required. If a response is deemed required,
38. This paragraph contains conclusions of law to
response is required. If a response is deemed required,
39. This paragraph contains conclusions of law to

response is required. If a response is deemed required,

which no

denied.

which no

denied.

which no

denied.

which no

denied.
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WHEREFORE, Counterclaim Defendant, Tod Williams Billie Tsien
Architects, LLP, respectfully requests that the Counterclaim be
dismissed with prejudice, together with attorneys’ fees, costs of
defense and other relief the Court deems just and equitable.

FOURTH COUNT AGAINST TWBTA
(Violation of Prompt Payment Act)

40. This paragraph incorporates the preceding paragraphs of
the Counterclaim and contains no averment of facts.

41. This paragraph contains conclusions of law to which no
response is required. If a response is deemed required, denied.

42. The averments in this paragraph consist of ARUP’s
characterization of documents. If a response is deemed required,
the averments are denied and the Court is respectfully referred to
the document cited for a complete statement of its contents.

43. This paragraph contains conclusions of law to which no
response is required. If a response is deemed required, denied.

44. This paragraph contains conclusions of law to which no
response is required. If a response is deemed required, denied.

45. This paragraph contains conclusions of law to which no
response is required. If a response is deemed required, denied.

46. This paragraph contains conclusions of law to which no
response is required. If a response is deemed required, denied.

47. This paragraph contains conclusions of law to which no

response is required. If a response is deemed required, denied.
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WHEREFORE, Counterclaim Defendant, Tod Williams Billie Tsien
Architects, LLP, respectfully requests that the Counterclaim be
dismissed with prejudice, together with attorneys’ fees, costs of
defense and other relief the Court deems just and equitable.

AFFIRMATIVE DEFENSES TO THE COUNTERCLAIM
FIRST AFFIRMATIVE DEFENSE

To the extent it has not done so in the preceding paragraphs,
Tod Williams Billie Tsien Architects, LLP (“TWBTA”) denies any
averments in the Counterclaim which the Court deems requires such
response.

SECOND AFFIRMATIVE DEFENSE
ARUP’s damages, if any, were caused by their own conduct.
THIRD AFFIRMATIVE DEFENSE

ARUP’s claims are barred, in whole or in part, because ARUP
has not suffered any damaged caused by or attributable to conduct
of TWBTA.

FOURTH AFFIRMATIVE DEFENSE

To the extent the ARUP is able to demonstrate any damages,
which is expressly denied, some or all of ARUP’s damages are barred
in whole or in part because of ARUP’s failure to mitigate its
alleged damages.

FIFTH AFFIRMATIVE DEFENSE
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For the purpose of preserving a defense, ARUP has failed to
state a cause of action against TWBTA for which relief may be
granted.

SIXTH AFFIRMATIVE DEFENSE

For the purpose of preserving a defense, ARUP’s claims are
barred in whole or in part because it failed to satisfy all
necessary conditions precedent.

SEVENTH AFFIRMATIVE DEFENSE

For the purpose of preserving a defense, ARUP’s claims are

barred, in whole or in part, by the doctrine of estoppel.
EIGHT AFFIRMATIVE DEFENSE

For the purpose of preserving a defense, ARUP’s claims are

barred, in whole or in part, by the doctrine of waiver.
NINTH AFFIRMATIVE DEFENSE
For the purpose of preserving a defense, ARUP’s claims are

barred, in whole or in part, by the doctrine of laches.

TENTH AFFIRMATIVE DEFENSE
For the purpose of preserving a defense, ARUP’s claims are
barred, in whole or in part, by the doctrine of unclean hands.
ELEVENTH AFFIRMATIVE DEFENSE

TWBTA was not negligent.

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TWELFTH AFFIRMATIVE DEFENSE
TWBTA performed each and every duty, contractual or
otherwise, which was owed to Arup and plaintiff, if any, or to
any other persons.
THIRTEENTH AFFIRMATIVE DEFENSE
The incidents and damages complained of by Arup were caused
solely by the acts or omissions of some other person or party
over whom TWBTA has no control or right of control.
FOURTEENTH AFFIRMATIVE DEFENSE
The damages alleged are not the result of the incident
which is the subject of the counterclaim.
FIFTEENTH AFFIRMATIVE DEFENSE
The negligence and/or fault of Arup contributed to the
alleged damages and, therefore, they are barred from recovery or
subject to having the same diminished in accordance with the
New Jersey Comparative Negligence Act and the New Jersey Joint
Tortfeasors Contribution Act.
SIXTEENTH AFFIRMATIVE DEFENSE
The incident was caused by defects which did not result
from any act or omission on the part of TWBTA.
SEVENTEENTH AFFIRMATIVE DEFENSE

Arup assumed the risk of injury or harm or loss.

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EIGHTEENTH AFFIRMATIVE DEFENSE
Arup’s claims are barred from recovery to the extent it
materially breached duties and obligations under its contract.
NINTEENTH AFFIRMATIVE DEFENSE
Arup’s claims are subject to set-off, recoupment, or back
charges.
TWENTIETH AFFIRMATIVE DEFENSE
Arup’s claims are barred by the applicable statute of
limitations/repose.
TWENTY-FIRST AFFIRMATIVE DEFENSE
Arup’s claims are barred by the doctrine of payment, accord
and satisfaction.
TWENTY-SECOND AFFIRMATIVE DEFENSE
Arup’s claims are barred because there are no monies due
and owing.
TWENTY-THIRD AFFIRMATIVE DEFENSE
Arup’s claims are barred from recovery by the limitation of
liability clause in the contract.
TWENTY-FOURTH AFFIRMATIVE DEFENSE
TWBTA reserves the right to assert any other defenses as
may be developed through discovery or trial.
TWENTY-FIFTH AFFIRMITIVE DEFENSE
Arup’s counterclaim fails to state a claim upon which

relief can be granted pursuant to N.J.S.A. 2A:53A-27, et seq.

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TWENTY-SIXTH AFFIRMATIVE DEFENSE

Arup failed to join a party needed for a just adjudication

or without which the action cannot proceed.
IWENTY-SEVENTH AFFIRMATIVE DEFENSE

The alleged incident was caused by the intervening wanton
and/or willful actions of a third party, which TWBTA could not
have foreseen and for which they are not responsible.

COUNTERCLAIM DEFENDANT, TOD WILLIAMS BILLIE TSIEN ARCHITECTS
LLP’S THIRD-PARTY COMPLAINT FOR CONTRIBUTION AND INDEMNIFICATION
AGAINST THE TRUSTEES OF PRINCETON UNIVERSITY AND DEFENDANTS
JACOBS ARCHITECTS/ENGINEERS, INC. AND JACOBS CONSULTANCY, INC.

1. Answering defendant on the counterclaim repeats its
answers to the prior paragraphs of the counterclaim of defendant
Arup USA, Inc. as if set forth at length herein.

2. Defendant Tod Williams Billie Tsien Architects, LLP
denies liability to third-party defendant/counterclaimant Arup
USA, Inc. for its counterclaim. However, if this defendant is
judged liable then answering defendant demands contribution from
plaintiff/third-party defendant on the counterclaim, The
Trustees of Princeton University, and defendants/third-party
defendants on the counterclaim, Jacobs Architects/Engineers,
Inc. and Jacobs Consultancy, Inc., pursuant to the applicable

Joint Tortfeasors Contribution Act, N.J.S.A. 2A:53A-1 through 5.

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3. Defendant Tod Williams Billie Tsien Architects, LLP
denies liability to third-party defendant/counterclaimant Arup
USA, Inc. for its counterclain. However, if this defendant is
judged liable then answering defendant demands common law and
contractual indemnification from plaintiff/third-party defendant
on the counterclaim, The Trustees of Princeton University, and
defendants/third-party defendants on the counterclaim, Jacobs
Architects/Engineers, Inc. and Jacobs Consultancy, Inc.

WHEREFORE, Defendant/third-party plaintiff on the cross-
complaint, Tod Williams Billie Tsien Architects, LLP, herein
demands judgment for contribution and/or common law and
contractual indemnification from third-party defendants, The
Trustees of Princeton University and Arup, USA, Inc.

DEMAND FOR JURY TRIAL

Answering defendant hereby demands trial by jury as to all

issues herein.

DESIGNATION OF TRIAL COUNSEL

PLEASE TAKE NOTICE that John M. Becker is designated as

trial counsel.

LOCAL CIVIL RULE 11:2 CERTIFICATION
I hereby certify that, to my knowledge, the matter in

controversy is not the subject of any other action or proceeding

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pending in any court or in any pending arbitration or
administrative proceeding.
CERTIFICATE OF SERVICE
I, John M. Becker, Esquire, certify that on , 2020, a
true and correct copy of the answer to the counterclaim was
served on all counsel of record via the Court’s ECF Filing

System.

THOMPSON BECKER, L.L.C.
Attorneys for Defendant
Tod Williams Billie Tsien
Architects, LLP

/s[Uoba M. Booker

By:
Dated: July , 2020 John M. Becker, Esq.

 

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